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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:10-CR-185-KJD (RJJ)
                                                         )
11    JOSE JESUS CORONA-LARIS,                           )
                                                         )
12                           Defendant.                  )

13                                   FINAL ORDER OF FORFEITURE

14            On August 19, 2010, the United States District Court for the District of Nevada entered a

15    Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); and Title 21, United

16    States Code, Section 853(a)(1), based upon the plea of guilty by defendant JOSE JESUS CORONA-

17    LARIS to a criminal offense, forfeiting specific property alleged in the Indictment and shown by the

18    United States to have a requisite nexus to the offense to which defendant JOSE JESUS CORONA-

19    LARIS pled guilty.

20            This Court finds the United States of America published the notice of the forfeiture in

21    accordance with the law on October 6, 2010, October 13, 2010, and October 20, 2010, in the Las

22    Vegas Review-Journal/Sun, notifying all known third parties of their right to petition the Court.

23            This Court finds no petition was filed herein by or on behalf of any person or entity and the

24    time for filing such petitions and claims has expired.

25            This Court finds no petitions are pending with regard to the assets named herein and the time

26    for presenting such petitions has expired.
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 1            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 2    title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 3    United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 4    32.2(c)(2); Title 21, United States Code, Section 853(a)(1); and Title 21, United States Code, Section

 5    853(n)(7) and shall be disposed of according to law:

 6                   a)      $3,760.00 in United States Currency seized from 6012 Sugar Creek Drive,

 7                           North Las Vegas, NV;

 8                   b)      $9,200.00 in United States Currency seized from 5041 Indigo Gorge Ave, Las

 9                           Vegas, NV; and

10                   c)      $1,400.00 in United States Currency seized from 5041 Indigo Gorge Ave, Las

11                           Vegas, NV.

12            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

13    funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well as

14    any income derived as a result of the United States of America’s management of any property forfeited

15    herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

16            The Clerk is hereby directed to send copies of this Order to all counsel of record and three

17    certified copies to the United States Attorney’s Office.

18                       22nd
              DATED this _________ day of _______________,
                                          December         2010.

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20                                                   UNITED STATES DISTRICT JUDGE

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